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       In the United States Court of Federal Claims
                            OFFICE OF SPECIAL MASTERS
                                          No. 14-363V
                                   Filed: November 12, 2015

* * * * * * * * * * * * * * * *                             UNPUBLISHED
JUDY BECKER,                  *
                              *                             Special Master Gowen
          Petitioner,         *
                              *                             Joint Stipulation on Damages;
v.                            *                             Tetanus-diphtheria-acellular
                              *                             pertussis (“Tdap”) vaccine;
SECRETARY OF HEALTH           *                             Guillain-Barre Syndrome.
AND HUMAN SERVICES,           *
                              *
          Respondent.         *
                              *
* * * * * * * * * * * * * * * *

Amber D. Wilson, Maglio, Christopher & Toale, PA, Washington, DC, for petitioner.
Lara A. Englund, United States Department of Justice, Washington, DC, for respondent.

                           DECISION ON JOINT STIPULATION1

        On April 29, 2014, Judy Becker (“petitioner”) filed a petition pursuant to the National
Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34 (2012). Petitioner alleged
that as a result of receiving a Tetanus-diphtheria-acellular pertussis (“Tdap”) vaccine on or about
August 1, 2011, she suffered Guillain-Barre Syndrome (“GBS”). Stipulation ¶ 2, 4, filed Nov. 10,
2015. Further, petitioner alleged that she experienced residual effects of her injury for more than
six months. Id. at ¶ 4.


1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat.
2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2012)). As provided by Vaccine Rule
18(b), each party has 14 days within which to request redaction “of any information furnished by
that party: (1) that is a trade secret or commercial or financial in substance and is privileged or
confidential; or (2) that includes medical files or similar files, the disclosure of which would
constitute a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2012) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


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        On November 10, 2015, the parties filed a stipulation in which they state that a decision
should be entered awarding compensation. Respondent denies that the Tdap vaccination caused
petitioner’s GBS, or any other injury or her current condition. Id. at ¶ 6. Nevertheless, the parties
agree to the joint stipulation, attached hereto as Appendix A. The undersigned finds the stipulation
reasonable and adopts it as the decision of the Court in awarding damages, on the terms set forth
therein.

       The parties stipulate that petitioner shall receive the following compensation:

       A lump sum of $525,000.00, in the form of a check payable to petitioner, Judy Becker.
       This amount represents compensation for all damages that would be available under
       42 U.S.C. § 300aa-15(a).

       Id. at ¶ 8.

       The undersigned approves the requested amount for petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

         The clerk of the court SHALL ENTER JUDGMENT in accordance with the terms of
the parties’ stipulation.3

       IT IS SO ORDERED.

                                              s/ Thomas L. Gowen
                                              Thomas L. Gowen
                                              Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


                                                 2
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